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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


                                             :
 UNITED STATES OF AMERICA                    :         Case No: 1:21-cr-00722-TFH
                                             :
            v.                               :         VIOLATIONS:
                                             :         18 U.S.C. §§ 1512(c)(2), 2
 RAFAEL RONDON                               :         (Obstruction of an Official Proceeding)
                                             :
            Defendant                        :
                                             :



                                 STATEMENT OF OFFENSE


       Pursuant to Federal Rule of Criminal Procedure 11, the United States of America, by and

through its attorney, the United States Attorney for the District of Columbia, and the defendant,

Rafael Rondon, with the concurrence of his attorney, agree and stipulate to the below factual

basis for the defendant’s guilty plea—that is, if this case were to proceed to trial, the parties

stipulate that the United States could prove the below facts beyond a reasonable doubt:

                         The Attack at the U.S. Capitol on January 6, 2021

       1.        The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include

permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

       2.        On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members

of the public.




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        3.      On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count

of the Electoral College of the 2020 Presidential Election, which had taken place on November

3, 2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by

approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a

particular objection. Vice President Mike Pence was present and presiding, first in the joint

session, and then in the Senate chamber.

        4.      As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.

Capitol. As noted above, temporary and permanent barricades were in place around the exterior

of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the

crowd away from the Capitol building and the proceedings underway inside.

        5.      At approximately 2:00 p.m., certain individuals in the crowd forced their way

through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd

advanced to the exterior façade of the building. The crowd was not lawfully authorized to enter

or remain in the building and, prior to entering the building, no members of the crowd submitted

to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized

security officials.

        6.      At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol;



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however, shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,

including by breaking windows and by assaulting members of law enforcement, as others in the

crowd encouraged and assisted those acts. The riot resulted in substantial damage to the U.S.

Capitol, requiring the expenditure of more than $1.4 million dollars for repairs.

       7.      Shortly thereafter, at approximately 2:20 p.m., members of the United States

House of Representatives and United States Senate, including the President of the Senate, Vice

President Pence, were instructed to—and did—evacuate the chambers. Accordingly, all

proceedings of the United States Congress, including the joint session, were effectively

suspended until shortly after 8:00 p.m. the same day. In light of the dangerous circumstances

caused by the unlawful entry to the U.S. Capitol, including the danger posed by individuals who

had entered the U.S. Capitol without any security screening or weapons check, Congressional

proceedings could not resume until after every unauthorized occupant had left the U.S. Capitol,

and the building had been confirmed secured. The proceedings resumed at approximately 8:00

p.m. after the building had been secured. Vice President Pence remained in the United States

Capitol from the time he was evacuated from the Senate Chamber until the session resumed.


               Rafael Rondon’s Participation in the January 6, 2021, Capitol Riot

       8.      The defendant, RONDON, lives in Watertown, New York. On January 5, 2021,

defendant traveled from Watertown to Virginia, via automobile, with his mother and co-defendant,

MARRYANN MOONEY-RONDON. The purpose of the defendant’s trip to the Washington,

D.C., area was to attend a political rally dubbed “Stop the Steal” in protest of Congress’

certification of the Electoral College vote.

       9.      On January 6, 2021, RONDON rode the Metro into D.C. RONDON later told the

FBI that he did so because he did not think it was a good idea to drive his car into the city where

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he intended to break into the U.S. Capitol. RONDON and MOONEY-RONDON attended the

“Stop the Steal” rally and then marched with other protestors to the U.S. Capitol.

       10.     At approximately 2:23 p.m., defendant RONDON entered the U.S. Capitol

through the breached Senate Wing Door with MOONEY-RONDON.

       11.     RONDON and MOONEY-RONDON proceeded together through the Crypt on

the first floor and up to the second floor of the U.S. Capitol. At approximately 2:32 p.m.,

RONDON and MOONEY-RONDON entered the office suite of the Speaker of the House of

Representatives, near Room H227.

       12.     At approximately 2:33 p.m., RONDON and MOONEY-RONDON entered the

Speaker of the House of Representative’s Conference Room, H230. Therein, RONDON and

MOONEY-RONDON assisted an unidentified male in the theft of a laptop located on the

Conference Room table. RONDON assisted in the theft by disconnecting cables from the laptop

and placing the laptop into a bag belonging to the unknown male.

       13.     Subsequently, RONDON exited the Conference Room and entered another room

in the Speaker of the House of Representatives office suite.

       14.     At approximately 2:42 p.m., RONDON and MOONEY-RONDON entered the

Senate Gallery, which overlooks the Senate Floor.

       15.     RONDON and MOONEY-RONDON each stole a ILC Dover SCape CBRN30

escape hood with satchel (a black pouch with an orange strap), which is a filtering respiratory

protective device maintained in the U.S. Capitol for Members of Congress and staff.

       16.     At approximately 2:52 p.m., RONDON and MOONEY-RONDON exited the U.S.

Capitol via the Rotunda steps onto the East Front. At that time, RONDON was wearing an

escape hood with the satchel in his left arm.



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       17.     On June 29, 2021, the FBI executed a search warrant at RONDON’s residence in

Watertown, New York. During the residential search, two emergency escape hood satchels that

were taken from the U.S. Capitol were found.

       18.     RONDON knew at the time he entered the U.S. Capitol Building that he did not

have permission to enter the building. The defendant obstructed, influenced, and impeded an

official proceeding, that is, a proceeding before Congress, specifically, Congress’s certification

of the Electoral College vote as set out in the Twelfth Amendment of the Constitution of the

United States and 3 U.S.C. §§ 15-18.



                                                      Respectfully submitted,


                                                      MATTHEW M. GRAVES
                                                      United States Attorney
                                                      D.C. Bar No. 415793



                                              By:
                                                      WILL N. WIDMAN
                                                      Trial Attorney, Detailee




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